                  Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 1 of 17 Page ID #:1
      AO 91 (Rev. 11/11) Criminal Complaint
                  LODGED
         CLERK, U.S. DISTRICT COURT
                                                   UNITED STATES DISTRICT COURTT                                               FILED
                                                                                                                     CLERK, U.S. DISTRICT COURT

          7/2/2021                                                           for the
       CENTRAL DISTRICT OF CALIFORNIA                            Central District
                                                               __________         of of
                                                                           District  California
                                                                                        __________                      -XO\
                                                                                                                        -XO\  
                      -.
         BY: ___________________ DEPUTY

                           United States of America                             )                                CENTRAL DISTRICT OF CALIFORNIA

                                      v.                                        )                                       '%URZQ
                                                                                                                    BY: ___________________ DEPUTY


                         ROYCE ROCO LANZISERA
                                                                                )      Case No.
                                                                                )                 5:21-mj-00463
                                                                                )
                                                                                )
                                                                                )
                                          Defendant(s)


   CRIMINAL COMPLAINT%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16

                 I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
      On or about the date(s) of                          March 30, 2021               in the county of          San Bernardino                in the
             Central              District of              California       , the defendant(s) violated:

                     Code Section                                                         Offense Description
      18 U.S.C. §§ 922(o)                                    Possession of Machine Guns.




                 This criminal complaint is based on these facts:
      See Affidavit.




                 ✔ Continued on the attached sheet.
                 u

                                                                                                      VSXUVXDQWWR)HG5&ULP3
                                                                                                           Complainant’s signature

                                                                                                      Paul Kirwan, Special Agent
                                                                                                           Printed name and title

       $WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\WHOHSKRQH


      Date:       -XO\
                                                                                                             Judge’s
                                                                                                             Judge’
                                                                                                                  ’s signature

      City and state:                              Riverside, California                     Honorable Kenly Kiya Kato,Magistrate Judge
                                                                                                           Printed name and title

$86$ Peter   Dahlquist
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 2 of 17 Page ID #:2



                               AFFIDAVIT

     I, Paul Kirwan, being duly sworn, declare and state as

follows:

                         PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint and arrest warrant against Royce Roco LANZISERA for a

violation of 18 U.S.C. § 922(o) (Possession of Machineguns).

     2.    The facts set forth in this affidavit are based upon

my personal observations; my training and experience; and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only.

                        BACKGROUND OF AFFIANT

     3.    I am a Special Agent (“SA”) with the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“ATF”), and have been

so employed since May 2017.      I am a graduate of the Federal Law

Enforcement Training Center and the ATF National Academy.           I am

an ATF Interstate Nexus Expert and routinely examine firearms

and ammunition to determine their origins and travel in

interstate commerce.     During my time as an ATF SA, I have

testified as an expert witness in federal court, participated on

multiple different task forces, and assisted in multiple


                                    2
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 3 of 17 Page ID #:3



narcotics and firearms investigations.        Based on my training and

experience, and on my conversations with other ATF SAs, I am

familiar with the investigation of federal firearms and drug

crimes.   I have experience in handling and utilizing

confidential informants for information as well as planning

controlled purchases for firearms and narcotics.

     4.   I also have experience reviewing financial records and

documents in order to identify illegal firearms manufacturing

and trafficking activity as well as other financial crimes.

Prior to working with ATF, I worked as a financial investigator

where I would review financial documents and transactions in

order to identify potential criminal activity.

                      SUMMARY OF PROBABLE CAUSE
     5.   On March 31, 2021, officers executed a federal search

warrant for LANZISERA’s residence and business and found

approximately 19 firearms (including 3 machineguns and one

firearm with a silencer equipped), 7 silencers, more than 1,700

pounds of ammunition, firearm manufacturing equipment, numerous

firearm parts, and over $33,000 in cash.        During a Mirandized,

audio-recorded interview, LANZISERA admitted possessing the

firearms that were seized since around the time the pandemic

began, but he admitted to possessing an AK-47 style rifle that

was found for about three years.        LANZISERA further admitted he

may have “given” some guns to people and that he was threatened

into “handing out a couple,” but denied that he was a gun

dealer.




                                    3
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 4 of 17 Page ID #:4



                     STATEMENT OF PROBABLE CAUSE
     6.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

    A.     Initiating Investigation of LANZISERA for Trafficking
           Privately Made Firearms (“PMFs”) commonly known as
           Ghost Guns

     7.    During two different investigations, I learned that

suspects reported to law enforcement that a person named “Royce”

was manufacturing and distributing ghost guns from a forklift

business in the City of Ontario.

     8.    Based on that information, I discovered a business

called Inland Empire Lift, a company specializing in the sales

of forklifts, located at 425 S. Euclid Avenue, Ontario,

California 91762.     I also found a Yelp review for the business

and on the Yelp webpage under the “About the Business” section,

there is a small photo of a male named “Royce L.” with the title

“business owner.”     I queried databases and learned that

LANZISERA was the owner of Inland Empire Lift in the City of

Ontario.

     9.    I reviewed certified conviction documents and other

criminal history reports for LANZISERA and learned that

LANZISERA was convicted on or about July 19, 2002, for a

violation of California Penal Code Section 12020(a)(1),

Manufacture, Import, Sale, or Possession of Undetectable

Firearm, in the Superior Court for the State of California,

County of Riverside, Case Number RIF103923.         Riverside County

Case RIF103923 originally included a gang enhancement charge of


                                    4
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 5 of 17 Page ID #:5



a violation of California Penal Code Section 186.22(b)(1) for

committing a crime as a participant of a criminal street gang.

However, the enhancement was dismissed pursuant to the plea

agreement.   As explained further below, on or about March 30,

2021, I learned that this felony conviction had been reduced to

a misdemeanor on March 18, 2021.

     10. When querying LANZISERA using law enforcement

databases, I learned that LANZISERA had previously admitted to

membership to the Mira Loma Dodd Street criminal street gang and

used the moniker “Speedy.”

    B.    Analysis of LANZISERA’s Financial Records Show He
          Spent About $106,000 on Firearm Parts and Accessories
          During 11-Month Period

     11. I sought and received LANZISERA’s bank records from

JPMorgan Chase Bank, US Bank, and PayPal.        The records show that

from February 2020 to January 2021, LANZISERA spent at least

$106,000 on firearms-related purchases.        Among the purchases, I

identified transactions that led me to believe that, in addition

to assembling ghost guns, LANZISERA was also manufacturing
machineguns and firearm silencers.       For example, on multiple

occasions, LANZISERA appears to have purchased items described

as oil filters like, “11 PCS Modified Car Fuel Filter Set Silver

Aluminum alloy Car accessorie” and “14pcs Car Modified Fuel

Filter Portable Filter Automotive 7075 Aluminum US STOCK.”

These filters can serve legitimate automotive purposes.

However, based on my training and experience, illegal firearms

manufacturers will commonly purchase fuel filters or threaded

oil filter kits to manufacture or assemble silencers.          The Gun


                                    5
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 6 of 17 Page ID #:6



Control Act defines the terms “firearm silencer” and “firearm

muffler” to include “any combination of parts, designed or

redesigned, and intended in assembling or fabricating a firearm

silencer or firearm muffler, and any part intended only for use

in such assembly or fabrication.” 1      As I understand it, the law

is intended to prevent the sale of incomplete silencer kits that

can easily be converted into silencers. 2       In my training and

experience, these oil or fuel filter parts kits contain all of

the necessary parts to assemble a silencer that can be easily

attached to the barrel of a firearm.

     12. With respect to machine gun parts, I noticed that on

or about February 12, 2020, LANZISERA purchased a “Glock Select

Fire Switch (only allowed for DEKO).”        A “Glock switch” is a

firearm part that constitutes a machinegun.         The Gun Control Act

and the National Firearms Act define a “machinegun” as “any

weapon which shoots, is designed to shoot, or can be readily

restored to shoot, automatically more than one shot, without

manual reloading, by a single function of the trigger, and the

term also includes “any part designed and intended solely and

exclusively, or combination of parts designed and intended, for

use in converting a weapon into a machinegun.” 3        In my training

and experience, Glock switches are designed specifically to

override the trigger bar of a Glock-type semi-automatic pistol


     1   18 U.S.C. § 921(a)(24).
     2 See United States v. Thompson/Center Arms Co., 504 U.S.
505, 515 (1992).
     3 18 U.S.C. § 921(a)(23) (incorporating the definition from
26 U.S.C. § 5845(b)).

                                    6
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 7 of 17 Page ID #:7



and prevent the trigger bar from capturing the firing pin while

the gun is firing.     As a result, a Glock switch is designed to

convert a Glock-type semi-automatic pistol into a machinegun,

and, therefore, the Glock switch is itself a machinegun.

     13. The records I reviewed also showed LANZISERA was

buying other Glock-style gun parts.        Additionally, around the

same time LAZISERA purchased the “Glock Select Fire Switch (only

allowed for DEKO),” he also purchased a manual on converting AR-

15’s into machine guns: “Full Auto, Volume 1 AR-15 Modification

Manual 9780879470616 | Brand New.”

    C.    Result of Search Warrant for Email Accounts Linked to
          LANZISERA’s Purchases

     14. On February 26, 2021, the Honorable Kenly Kiya Kato,

United States Magistrate Judge, signed warrants authorizing law

enforcement officers to search data within the Yahoo! (C.D. Cal.

Case No. 5:21-MJ-00132) and Google (C.D. Cal. Case No. 5:21-MJ-

133) accounts that were linked to financial accounts LANZISERA

was using to purchase firearm parts.

     15. The results of the Yahoo! and Google searches
confirmed LANZISERA was purchasing firearm parts from all over

the country, but also showed that LANZISERA was making bulk cash

purchases from local firearm dealers.        For example, I reviewed

an email thread between LANZISERA using his

InlandEmpireLift@Yahoo.com email address and a local firearm

dealer also engaged in the business of selling firearms parts

and accessories, using their business email address.          In the

exchange, LANZISERA stated he needed “40 or 50 complete kits,”



                                    7
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 8 of 17 Page ID #:8



and that he had the “money in hand.”        The firearm dealer

confirmed that they could accommodate him as soon as a new

shipment arrived, and they coordinated the logistics for when

LANZISERA could purchase the “kits.”        This sample email exchange

showed that in addition to buying parts online, LANZISERA was

also paying cash to local firearm dealers to buy as many as 50

complete gun kits that he could then assemble.

    D.      Results of Search Warrant Execution at LANZISERA’s
            Residence

     16. On March 19, 2021, Honorable Kenly Kiya Kato, United

States Magistrate Judge, signed warrants authorizing law

enforcement officers to search LANZISERA’s residence (C.D. Cal.

Case No. 5:21-MJ-00178) and LANZISERA’s business (C.D. Cal. Case

No. 5:21-MJ-00180).     On March 31, 2021, officers executed both

warrants.

     17. In the primary bedroom of the residence, officers

found a gun safe that contained ammunition, firearms, firearm

parts, a 37mm launcher, $33,105 in cash, prescription medication

in LANZISERA’s name, and LANZISERA’s passport.
     18. In another room in the residence, officers found an

AK-47-style rifle and other firearm parts and accessories.

Officers also found multiple complete build kits that could be

used for manufacturing handguns.        Officers also found flat

pieces of metal that were cut and shaped to mirror Uzi, AK-47,

and Glock-style firearms.      Firearm builders use “flats” to mold

and bend metal into the upper receiver of a firearm.




                                    8
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 9 of 17 Page ID #:9



     19. On the couch in the living/family room next to where

LANZISERA later told to law enforcement he was sleeping before

officers entered the residence, was a machinegun.          And in plain

view outside the kitchen sliding glass door was a loaded handgun

with a silencer equipped.

     20. This picture depicts some of the firearms, including

three machineguns, that officers seized:




     21. On the left of the photograph above is a pistol that

was found with a silencer equipped.        Also visible in the

photograph are three machineguns: one Uzi and two other Uzi-

style firearms.    On or about May 3, 2021, ATF Firearms

Enforcement Officer Cody Toy, an officer specially trained and

experienced in determining the characteristics and functionality

of firearms, examined the three suspected machineguns, concluded

that all three suspected machineguns fire more than one shot by




                                    9
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 10 of 17 Page ID #:10



a single function of the trigger, and concluded that all three

suspected machineguns are indeed machineguns.

      22. The pictures below show some of the firearm parts and

silencers that were seized as well as manufacturing equipment:




      23. In the picture above on the left, the “flats” are

visible as are a few partially completed Uzi upper receivers.

In the middle of the same picture are several Polymer80 kits

along with a drum magazine capable of accepting 100 rounds of

.223 caliber or 5.56mm ammunition.        On the far right of the

picture is a 37mm launcher and six firearm silencers.           On or

about April 21, 2021, Firearms Enforcement Officer Toy examined

the seven suspected silencers found and concluded that the

suspected silencers were indeed silencers.

                                    10
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 11 of 17 Page ID #:11



      E.   Results of Search Warrant Execution at LANZISERA’s
           Business

      24. On March 31, 2021, officers executed the search

warrant for LANZISERA’s business.        During the search, in the

office, officers saw a white board with the words “Speedie” and

“Dodd Street” written on it:




      25. The language on the white board was significant

because I had read in other reports that LANZISERA used the

moniker “Speedie” and had previously admitted to being a member

of the Mira Loma Dodd Street criminal street gang.

      26. At the business, officers found numerous firearms

parts, including AR-type lower receivers, AR-type grips, AR-type

stocks, suspected silencers, and hundreds of rounds of



                                    11
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 12 of 17 Page ID #:12



ammunition.     Additionally, officers found approximately 1.14

grams methamphetamine on LANZISERA’s desk in his office.

      27. In total, while searching both the residence and the

business, officers found 19 firearms, 7 silencers, about 1,700

pounds of ammunition, firearm manufacturing equipment, numerous

firearm parts, and more than $33,000 in cash.

      F.   LANZISERA’s Mirandized Interview

      28. On March 31, 2021, I read LANZISERA his Miranda rights

and conducted an audio-recorded interview.          During the

interview, LANZISERA stated that he uses meth and “pills” daily.

He stated that he was feeling “okay” at the time of the

interview but that he was “coming down” after using drugs.

LANZISERA stated that he owned the AK-47 style rifle that

officers had found for “probably three years maybe” and he got

it from some guy “from the military.”         LANZISERA said all the

other guns were “from last year.”        He stated he had the guns

“since COVID.”     The statement that he had owned the AK-47 for

three years is significant because that means he possessed the
AK-47 before his felony conviction was reduced to a misdemeanor

on or about March 18, 2021.

      29. LANZISERA stated that he learned how to build firearm

silencers on YouTube.      LANZISERA stated he knew that silencers

need to be registered and he was trying to get his prior

conviction expunged so he could “start doing” things “legally.”

      30. LANZISERA stated that he could never figure out how to

convert Glocks into machineguns using selector switches.            He




                                    12
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 13 of 17 Page ID #:13



stated that he tried to convert Glocks into machineguns a few

times, but it never worked.

       31. LANZISERA stated that he bought the “flats” online and

he does not remember how they were marketed online.

       32. I informed LANZISERA that I had discovered he had

spent at least $106,000 on firearm parts and accessories.            I

told LANZISERA that his spending meant he probably built

hundreds of guns.      LANZISERA said he would guess he made 50 or

60 firearms or maybe fewer.       LANZISERA stated that some of the

firearms he made were stolen and he did not report that they

were stolen because he knew it was illegal for him to possess

the firearms.

       33. LANZISERA stated that he was not selling guns, but

that he maybe “gave” some guns to people if he was threatened

into “handing out a couple.”

       34. LANZISERA also made statements about his drug use and

admitted that he would go to the business and do “speed.”

       G.   LANZISERA’s Wife Confirmed that that LANZISERA was the
            Only Person Living at the Residence and that LANZISERA
            Had a Drug Problem

       35. On March 31, 2021, I conducted an audio-recorded

interview with J.L., LANZISERA’s wife.         J.L. agreed to speak

with me after a neighbor told her that law enforcement was at

the residence and she came to the residence to get the family

dog.    J.L. reported that she moved out of the family home

because LANZISERA’s drug use became out of control.           She

reported that he was taking blue pills that made his eyes big

and prevented him from focusing.         She stated she was not sure if


                                    13
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 14 of 17 Page ID #:14



he used methamphetamine, but she saw pipes around that she

thought were methamphetamine pipes.         She stated that she was

hoping that “this” would prompt him to “get help.”

      H.    LANZISERA’s Prior Conviction and Facts of From
            Incident Report

      36. On or about February 1, 2021, I reviewed certified

conviction documents and other criminal history reports for

LANZISERA and learned that LANZISERA was convicted on or about

July 19, 2002, for a violation of California Penal Code Section

12020(a)(1), Manufacture, Import, Sale, or Possession of

Undetectable Firearm, in the Superior Court for the State of

California, County of Riverside, Case Number RIF103923. 4
      37. According to the certified minutes of sentencing, the

Superior Court ordered LANZISERA not to own, possess or have

under his control any firearm or deadly weapon or related

paraphernalia “for LIFE” pursuant to “12021 PC/18 USC

922(g)(1).”

      38.   On or about March 30, 2021, I learned that about a

hearing in Riverside County Case RIF103923 to petition for

dismissal the felony conviction.         According to the minutes from

that proceeding, on March 18, 2021, the felony conviction

reduced to a misdemeanor violation of California Penal Code

Section M12020(a)(1).




      4I reviewed certified minutes of sentencing along with a
criminal history report. The certified minutes of sentencing
reflect that LANZISERA was convicted of one felony count and the
criminal history report shows that the felony count was a
violation of California Penal Code Section 12020(a)(1).

                                    14
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 15 of 17 Page ID #:15



      39. On June 22, 2021, I reviewed the original Riverside

County Sheriff’s Office incident report dated August 3, 2001,

that details the investigation that resulted in LANZISERA’s

conviction.

            a.   According to the report, on the evening of August

2, 2001, at about 9:14 p.m., Deputy Plumer reported to a

residence in Mira Loma, California, and found LANZISERA lying in

a pool of blood on the floor in the kitchen of the residence.

The Deputy also saw a blood trail leading to a hallway where he

saw a shoe covered in blood and pellets.         LANZISERA reported to

Deputy Plumer that LANZISERA accidently shot himself in the foot

as he was packing to go on a fishing trip.         Officer Plumer asked

where the gun was and LANZISERA refused to answer, but then

ultimately said, “I gave it to a friend, and he left with it.”

LANZISERA’s mother then told Deputy Plumer that LANZISERA had

asked her to “get rid of” the gun and she put it in the backyard

next to a chicken coop.      Deputy Plumer found the gun and

discovered it was a shotgun with a 14-inch barrel in violation
of California Penal Code Section 12020.

            b.   After LANZISERA was being transported, Deputy

Plumer learned from running LANZISERA’s information in his

Mobile Data Terminal that as of December 1999, LANIZSERA had

been entered into the County database as a member of the Mira

Loma Dodd Street criminal street gang and used the moniker

“Speedy.”   Deputy Plumer reinterviewed LANZISERA to report that

he had found the shotgun, but LANIZSERA then refused to answer

any more of Deputy Plumer’s questions.


                                    15
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 16 of 17 Page ID #:16



      40. The details of this encounter help provide context to

the sign found in the office during the March 31, 2021 search of

the residence where officers found a whiteboard with the words

“Dodd Street” and “Speedie” written on the board.           Additionally,

LANZISERA’s actions to hide the shotgun he discharged suggest he

knew the features of the shotgun and knew it was unlawful for

him to possess a short-barreled shotgun.

      I.   LANZISERA Arrested While High with Cash and Narcotics
           in May 2020 Further Confirms He is An Addict
           Prohibited from Possessing Firearms or Ammunition

      41. From reviewing another police incident report related

to the LANZISERA, I understand that on or about May 2, 2020, the

Ontario Police Department responded to the LANZISERA’s business

because LANZISERA reported an overdose of Spencer Stevens, an

individual LANZISERA identified as his friend.          Officers arrived

and identified Stevens and discovered he was a convicted felon

who had a firearm in his waistband.        During the incident,

officers concluded LANZISERA was also under the influence of a

controlled substance.      Officers searched LANZISERA and found
approximately 10 suspected Oxycodone pills in a baggie on

LANZISERA's person.      Ultimately, officers arrested LANZISERA for

violations of California Health and Safety Code Sections 11378

(Possession of a Controlled Substance for Sale) and 11550(a)

(Under the Influence of a Controlled Substance).           At the time of

the arrest, LANZISERA had approximately $7,075 in cash on his

person as well has two bank deposit slips: one to US Bank in the

amount of $21,100 and one to Chase Bank for $7,800.




                                    16
Case 5:21-mj-00463-DUTY Document 1 Filed 07/06/21 Page 17 of 17 Page ID #:17



      J.   Nexus of Some Firearms and Ammunition and NFRTR Query

      42. On May 31, 2021, an ATF Interstate Nexus Expert

examined many of the firearms, including the AK-47 style rifle,

and a sampling of the ammunition seized and confirmed that they

were manufactured outside of the State of California.

      43. Additionally, ATF agents ran LANZISERA through the

National Firearms Registration and Transfer Record and

determined that he does not have any firearm transfers

registered in his name.

                                CONCLUSION
      44. For all of the reasons described above, there is

probable cause to believe that LANZISERA has violated 18 U.S.C.

§ 922(o) (Possession of Machineguns).


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this WK day of
-XO\ 2021.



   25$%/(.(1/
             /<.,<$.$72
+2125$%/(.(1/<.,<$.$72
UNITED STATES MAGISTRATE JUDGE




                                    17
